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10                                   UNITED STATES DISTRICT COURT
11                                          DISTRICT OF NEVADA
12 UNITED STATES OF AMERICA,                          )
                                                      )
13                 Plaintiff,                         )
                                                      )
14          v.                                        ) 2:10-CR-356-LDG-(VCF)
                                                      )
15 JEANNIE SUTHERLAND,                                )
                                                      )
16                 Defendant.                         )
17        UNITED STATES OF AMERICA’S MOTION TO UNSEAL THE SEALED EX PARTE
                   MOTION TO SUBSTITUTE AND TO FORFEIT PROPERTY
18                       OF JEANNIE SUTHERLAND AND ORDER
19           The United States of America (“United States”), by and through Daniel G. Bogden, United

20 States Attorney for the District of Nevada, and Daniel D. Hollingsworth, Assistant United States

21 Attorney, respectfully requests this Court to unseal the United States of America’s Sealed Ex Parte

22 Motion to Substitute and to Forfeit Property of Jeannie Sutherland (“Sutherland”) so that the proper

23 parties may be served. The United States Marshals Service took custody of the substitute asset, the real

24 property located at 9405 Shipboard Court, Las Vegas, Nevada 89117 on April 4, 2014. The United

25 States feared that if the Motion was served on Sutherland before the substitute asset was taken into
26 custody, problems would possibly occur.




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 1           The real property 9405 Shipboard Court, Las Vegas, Nevada 89117 is one of the properties that

 2 the Chapter 7 Bankruptcy Trustee, Shelley D. Krohn, abandoned or the automatic stay was lifted in 2:12-

 3 BK-24096-MKN.

 4           The United States also requests that this Court order Sutherland not to interfere with the United

 5 States Marshals Service’s custody and interlocutory sale of 9405 Shipboard Court, Las Vegas, Nevada

 6 89117 to ensure that no strange activities occur that have been occurring to the Sutherland properties that

 7 are in the Chapter 7 Bankruptcy estate in 2:12-BK-24096-MKN.
 8           For these reasons, this Court should unseal the United States of America’s Sealed Ex Parte

 9 Motion to Substitute and to Forfeit Property of Jeannie Sutherland so service of process can be completed

10 and order Sutherland not to interfere with the United States Marshals Service custody and interlocutory

11 sale of 9405 Shipboard Court, Las Vegas, Nevada 89117.

12           DATED this 8th day of April, 2014.
13                                                               DANIEL G. BOGDEN
                                                                 United States Attorney
14

15                                                               /s/ Daniel D. Hollingsworth
                                                                 DANIEL D. HOLLINGSWORTH
16                                                               Assistant United States Attorney
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19                                                               IT IS SO ORDERED.

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22                                                               UNITED STATES DISTRICT JUDGE
23                                                               DATED:         May 2014

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